         Case 6:22-mj-00140-KNM Document 6 Filed 06/29/22 Page 1 of 1 PageID #: 10

AO 94 (Rev. 06/09) Commitment to Another District



                                     United States District Court
                                                               for the
                                                     Eastern District of Texas

                United States of America
                               v.
                                                                         Case No. 6:22-MJ-00140-KNM

                 CHRISTIAN MARTINEZ                                          Charging District s
                           Defendant                                         Case No. SA:22-MJ-971

                                            COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the Western District of Texas

(if applicable) San Antonio division. The defendant may need an interpreter for this language:



         The defendant: will retain an attorney.

                                    is requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States arshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.




Date:
                                                                                         Judge's signature


                                                                             K. Nicole Mitchell, U.S. Magistrate Judge
                                                                                       Pri ted name and title
